                                                              United States Bankruptcy Court
                                                               Northern District of Alabama
In re:                                                                                                                 Case No. 22-82029-CRJ
Gerald Tabb                                                                                                            Chapter 7
Misty Tabb
       Debtors
                                                     CERTIFICATE OF NOTICE
District/off: 1126-8                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Dec 01, 2022                                               Form ID: van010                                                           Total Noticed: 24
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.

++               Addresses marked '++' were redirected to the recipient's preferred mailing address pursuant to 11 U.S.C. § 342(f)/Fed. R. Bank. P. 2002(g)(4).


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Dec 03, 2022:
Recip ID                Recipient Name and Address
db/jdb                + Gerald Tabb, Misty Tabb, 89 Davistown Rd., Section, AL 35771-7601
10994946              + 1st Franklin Financial, Attn: Bankruptcy, 24833 John T Reid Pkwy, Suite 3-B, Scottsboro, AZ 35768-2343
11003211                Carefree Rental, P.O. Box 1418, Mocksville, NC 27028-1418
11003210              + Local Finance, 242 S. Broad St., Scottsboro, AL 35768-1731
10994948             ++ MID ATLANTIC FINANCE, 4592 ULMERTON ROAD, CLEARWATER FL 33762-4107 address filed with court:, Mid-Atlantic
                        Finance Company, 4592 Ulmerton Road, Suite 200, Clearwater, FL 33762
10994960              + Sun Loan, 201 Veterans Dr Ste 105, Scottsboro, AL 35768-2168

TOTAL: 6

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
smg                    + Email/Text: bnc_notices_northern@alnba.uscourts.gov
                                                                                        Dec 02 2022 00:17:00      Richard Blythe, BA Decatur, P O Box 3045,
                                                                                                                  Decatur, AL 35602-3045
                       + Email/Text: treata.shelton@ch13decatur.com
                                                                                        Dec 02 2022 00:16:00      Michele Hatcher, PO Box 2388, Decatur, AL
                                                                                                                  35602-2388
10994950               + Email/Text: caineweiner@ebn.phinsolutions.com
                                                                                        Dec 02 2022 00:16:00      Caine & Weiner, Attn: Bankruptcy, 5805
                                                                                                                  Sepulveda Blvd, Sherman Oaks, CA 91411-2546
10994951               + Email/Text: bnc-capio@quantum3group.com
                                                                                        Dec 02 2022 00:17:00      Capio Partners, LLC, Attn: Bankruptcy, Po Box
                                                                                                                  3498, Sherman, TX 75091-3498
10994952               + Email/Text: bankruptcy_notifications@ccsusa.com
                                                                                        Dec 02 2022 00:18:00      Credit Collection Services, Attn: Bankruptcy, 725
                                                                                                                  Canton St, Norwood, MA 02062-2679
10994953               + Email/PDF: creditonebknotifications@resurgent.com
                                                                                        Dec 02 2022 00:22:33      Credit One Bank, Attn: Bankruptcy Department,
                                                                                                                  Po Box 98873, Las Vegas, NV 89193-8873
10994954               + Email/Text: bknotice@ercbpo.com
                                                                                        Dec 02 2022 00:17:00      Enhanced Recovery Company, Attn: Bankruptcy,
                                                                                                                  8014 Bayberry Road, Jacksonville, FL 32256-7412
10994947                  Email/Text: corporatecredit@farmersfurniture.com
                                                                                        Dec 02 2022 00:17:00      Farmers Home Furniture, Attn: Bankruptcy, Po
                                                                                                                  Box 1140, Dublin, GA 31040
10999294                  Email/Text: corporatecredit@farmersfurniture.com
                                                                                        Dec 02 2022 00:17:00      Farmers Home Furniture, Attn: Corporate Credit
                                                                                                                  Department, P.O. Box 1140, Dublin, GA 31040
10994955               + Email/Text: bankruptcies@foxcollection.com
                                                                                        Dec 02 2022 00:17:00      Fox Collection Center, Attn: Bankruptcy, Po Box
                                                                                                                  528, Goodlettsvile, TN 37070-0528
10994956               + Email/Text: FSBank@franklinservice.com
                                                                                        Dec 02 2022 00:16:00      Franklin Collection Service, Inc., 2978 West
                                                                                                                  Jackson Street, Po Box 3910, Tupelo, MS
                                                                                                                  38803-3910
10994957               + Email/Text: bankruptcyemails@hollowaycredit.com
                                                                                        Dec 02 2022 00:16:00      Holloway Credit Solutions, Attn: Bankruptcy, Po
                                                                                                                  Box 230609, Montgomery, AL 36123-0609
10994958                  Email/Text: sheri@masinc.org
                                                                                        Dec 02 2022 00:16:00      Merchants Adjustment Service, Attn: Bankruptcy,




            Case 22-82029-CRJ7 Doc 17 Filed 12/03/22 Entered 12/03/22 23:41:34                                                                   Desc
                              Imaged Certificate of Notice Page 1 of 3
District/off: 1126-8                                              User: admin                                                             Page 2 of 2
Date Rcvd: Dec 01, 2022                                           Form ID: van010                                                       Total Noticed: 24
                                                                                                            56 North Florida St, Mobile, AL 36607
10994959                 Email/Text: bankruptcydocs@osla.org
                                                                                   Dec 02 2022 00:16:00     OSLA/Dept of Ed, Attn: Bankruptcy, Po Box
                                                                                                            18475, Oklahoma City, OK 73154
11003212              + Email/Text: Bankruptcy@redfcu.org
                                                                                   Dec 02 2022 00:17:00     Redstone FCU, Attn: Bankruptcy Dept, 220 Wynn
                                                                                                            Drive, Huntsville, AL 35893-0001
10994949              + Email/Text: enotifications@santanderconsumerusa.com
                                                                                   Dec 02 2022 00:17:00     Santander Consumer USA, Attn: Bankruptcy, Po
                                                                                                            Box 961245, Fort Worth, TX 76161-0244
10994961              + Email/Text: wfmelectronicbankruptcynotifications@verizonwireless.com
                                                                                 Dec 02 2022 00:16:00       Verizon Wireless, Attn: Bankruptcy, 500
                                                                                                            Technology Dr, Ste 599, Weldon Springs, MO
                                                                                                            63304-2225
10994962              + Email/Text: bk@worldacceptance.com
                                                                                   Dec 02 2022 00:17:24     World Finance Company, Attn: Bankruptcy, Po
                                                                                                            Box 6429, Greenville, SC 29606-6429

TOTAL: 18


                                                    BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                   NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Dec 03, 2022                                        Signature:           /s/Gustava Winters




                                 CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on December 1, 2022 at the address(es) listed
below:
Name                             Email Address
John C. Larsen
                                 on behalf of Joint Debtor Misty Tabb john@jlarsenlaw.com lori@jlarsenlaw.com;larsenjr86417@notify.bestcase.com

John C. Larsen
                                 on behalf of Debtor Gerald Tabb john@jlarsenlaw.com lori@jlarsenlaw.com;larsenjr86417@notify.bestcase.com

Judith Thompson
                                 judith@al-bk.com AL03@ecfcbis.com

Michele T. Hatcher
                                 ecf@ch13decatur.com treata.shelton@ch13decatur.com;tina.worley@ch13decatur.com


TOTAL: 4




            Case 22-82029-CRJ7 Doc 17 Filed 12/03/22 Entered 12/03/22 23:41:34                                                           Desc
                              Imaged Certificate of Notice Page 2 of 3
Van−010 [Conversion Notice] (Rev. 05/18)

                       UNITED STATES BANKRUPTCY COURT
                NORTHERN DISTRICT OF ALABAMA, NORTHERN DIVISION


In re:                                                                            Case No. 22−82029−CRJ7
Gerald Tabb                                                                       Chapter 7
SSN: xxx−xx−2463
Misty Tabb
SSN: xxx−xx−6062
        Debtor(s)

                                           CONVERSION NOTICE
NOTICE is hereby provided:

        The Debtor filed a Notice of Conversion on 12/1/22. The Debtor is required to pay the conversion fee of
$25.00 to the Clerk of the Bankruptcy Court within 2 business days from the date of this notice, or this case may be
set for dismissal.

          On or before 14 days from the date of filing the Notice of Conversion the Debtor is required to do the
          following:

          (1) File amendments to Schedules A through F, listing any and all changes to property or amounts owed
          since the commencement of the original bankruptcy case;

          (2) File a Summary of Your Assets and Liabilities and Certain Statistical Information − Individual (Official
          Form 106) pursuant to 28 U.S.C. §159;

          (3) File an Attorney's Disclosure of Compensation regarding fees received in the chapter 13 case, fees paid
          for the conversion of the chapter 13 case and any fees for the chapter 7 case pursuant to 11 U.S.C. §329;

          (4) File a Chapter 7 Statement of Your Current Monthly Income and Means−Test Calculation (Official Form
          122A) for cases filed on or after October 17, 2005;

       Further, the Debtor is required to file with the Court on or before 30 days from the date of the Notice of
Conversion or the date set for the Section 341 meeting of creditors, whichever date is earlier, a Statement of Intention
pursuant to 11 U.S.C. §521. A copy of the statement is to be served on the named creditor(s) and affected parties to
the case and the same is to be certified to the Court upon completion.

       Failure to comply with the filing requirements or payment of fees within the time limits may result in the
dismissal of the case. Copies of all amendments and statements are to be served on the appointed Chapter 7 Trustee
and the Bankruptcy Administrator.

Dated: December 1, 2022                                     By:

                                                            Joseph E. Bulgarella, Clerk
                                                            United States Bankruptcy Court
dwh




        Case 22-82029-CRJ7 Doc 17 Filed 12/03/22 Entered 12/03/22 23:41:34                                                 Desc
                          Imaged Certificate of Notice Page 3 of 3
